James R. McDonald, Jr. 013604                                                                                      2:17-bk-10439
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                                                            UNITED STATES BANKRUPTCY COURT
                                                                  DISTRICT OF ARIZONA

 In re                                                                               Case No.
 Chris Daniel Chacon, Sr.
 Lucille Mendoza Chacon                                                              CHAPTER 13 PLAN AND APPLICATION FOR
                                                                                     PAYMENT OF ADMINISTRATIVE EXPENSES


                                                                        Debtor(s).      Original
 SSN xxx-xx-2244                             SSN xxx-xx-8709                            Amended
 5825 S. Beck Avenue                                                                    Modified
 Tempe, AZ 85283
 5825 S. Beck Avenue
 Tempe, AZ 85283                                                                       Plan payments include post-petition mortgage payments


       This Plan may affect creditor rights. If you object to the treatment of your claim as proposed in this Plan, you must file a
written objection by the deadline set forth in a Notice of Date to File Objections to Plan served on parties in interest. If this is a
joint case, then "Debtor" means both Debtors. This plan does not allow claims or affect the timeliness of any claim. To receive
payment on your claim, you must file a proof of claim with the Bankruptcy Court, even if this Plan provides for your debt. The
applicable deadlines to file a proof of claim were specified in the Notice of Commencement of Case. Except as provided in § 1323(c),
a creditor who disagrees with the proposed treatment of its debt in this Plan must timely file an objection to the Plan.

         If this is an Amended or Modified Plan, the reasons for filing this Amended or Modified Plan
are:                                          .

(A)      Plan Payments and Property to be Submitted to the Plan.

         (1) Plan payments start on October 5, 2017 . The Debtor shall pay the Trustee as follows:

               $ 1,250.00 each month for month 1 through month 60 .

               The proposed plan duration is 60 months. The applicable commitment period is 36 months. Section 1325(b)(4).

         (2) In addition to the plan payments, Debtor will submit the following property to the Trustee: None

(B) Trustee’s Percentage Fee. Pursuant to 28 U.S.C. § 586(e), the Trustee may collect the percentage fee from all payments and
property received, not to exceed 10%.




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(C) Treatment of Administrative Expenses, Post-Petition Mortgage Payments and Claims. Except             2:17-bk-10439
                                                                                                            adequate protection
payments under (C)(1), post-petition mortgage payments under (C)(4), or as otherwise ordered by the Court, the Trustee will make
disbursements to creditors after the Court confirms this Plan. Unless otherwise provided in Section (J), disbursements by the Trustee
shall be pro rata by class (except adequate protection payments) and made in the following order:

         (1) Adequate protection payments. Section 1326(a)(1)(C) requires adequate protection payments to be made to creditors
             secured by personal property. Pursuant to Local Bankruptcy Rule 2084-6, the Trustee is authorized to make
             preconfirmation adequate protection payments to the certain secured creditors without a Court order, provided the claim is
             properly listed on Schedule D, the creditor files a secured proof of claim that includes documentation evidencing a
             perfected security agreement, and the debtor or creditor sends a letter to the Trustee requesting payment of preconfirmation
             adequate protection payments. The Trustee will apply adequate protection payments to the creditor’s secured claim. After
             confirmation, unless the Court orders otherwise, adequate protection payments will continue in the same amount until
             claims to be paid before these claimants are paid in full, unless the confirmed plan or a court order specifies a different
             amount. If a secured creditor disagrees with the amount of the proposed adequate protection payments or the plan
             fails to provide for such payments, the creditor may file an objection to confirmation of this plan, file a motion
             pursuant to §§ 362, 363, or do both.

 Creditor                                                            Property Description                                        Monthly Amount
 Southern Hills Acceptance, LLC                                      2010 Nissan Altima 93428 miles                                          100.00
      See Section (J), Varying Provisions.

         (2) Administrative expenses. Section 507(a)(2).

               (a) Attorney fees. Debtor’s attorney received $ 500.00 before filing. The balance of $ 5,500.00 or an amount approved
                   by the Court upon application shall be paid by the Trustee. See Section (F) for any fee application.

               (b) Other Administrative Expenses. [Describe]

      See Section (J), Varying Provisions.

         (3) Leases and Unexpired Executory Contracts. Pursuant to § 1322(b), the Debtor assumes or rejects the following lease or
             unexpired executory contract. For a lease or executory contract with an arrearage to cure, the arrearage will be cured in the
             plan payments with regular monthly payments to be paid direct by the Debtor. The arrearage amount to be adjusted to the
             amount in the creditor’s allowed proof of claim.
           (a) Assumed:
 Creditor & Property Description                                                      Estimated Arrearage Amount   Arrearage Through Date
 -NONE-


               (b) Rejected:
 Creditor                                                              Property Description
 Rancho Murietta                                                       Apartment lease. Reject lease.
      See Section (J), Varying Provisions.




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         (4) Claims Secured Solely by Security Interest in Real Property. A creditor identified in this paragraph     may mail the Debtor
             all correspondence, notices, statements, payment coupons, escrow notices, and default notices concerning any change to
             the monthly payment or interest rate without such being a violation of the automatic stay. Unless stated below, Debtor is to
             pay post-petition payments direct to the creditor and prepetition arrearages shall be cured through the Trustee. No interest
             will be paid on the prepetition arrearage or debt unless otherwise stated. The arrearage amount is to be adjusted to the
             amount in the creditor’s allowed proof of claim. Except as provided in Local Bankruptcy Rule 2084-23, if a creditor gets
             unconditional stay relief the actual cure amount to be paid shall be adjusted by the Trustee pursuant to the creditor’s
             allowed proof of claim. If the Debtor is surrendering an interest in real property, such provision is in paragraph (E). The
             Debtor is retaining real property and provides for each such debt as follows:

 Creditor/Servicing Agent &                       Collateral Value &                Post-Petition Mortgage                 Estimated Arrearage
 Property Description                             Valuation Method                  Payments                               Arrearage Through Date
 Arizona Federal Credit Union                     222,322.00                        328.00                                15,744.00   9/2017
 5825 S. Beck Avenue Tempe, AZ                    Value based on Zillow                Debtor will pay direct to
 85283 Maricopa County                                                              creditor; or
                                                                                       Included in Plan payment.
                                                                                    Trustee will pay creditor.
 Vanderbilt Mortgage                              125,000.00                        456.24                                     0.00   None
 County Road 260, Lot 50 Alpine,                  Value based on debtors               Debtor will pay direct to
 AZ 85290 Apache County                           opinion                           creditor; or
 Mobile home and land described
 as Lot 50, Alpine Sportsmans
                                                                                       Included in Plan payment.
 Club Estates, according to Book 1                                                  Trustee will pay creditor.
 of Maps, page 54, records of
 Apache County, AZ.
 Wells Fargo Home Mortgage                        222,322.00                        866.62                                16,166.66   9/2017
 5825 S. Beck Avenue Tempe, AZ                    Value based on Zillow                Debtor will pay direct to
 85283 Maricopa County                                                              creditor; or
                                                                                       Included in Plan payment.
                                                                                    Trustee will pay creditor.
      See Section (J), Varying Provisions.

         (5) Claims Secured by Personal Property or a Combination of Real and Personal Property. Pursuant to § 1325(a), secured
             creditors listed below shall be paid the amount shown as the Amount to be Paid On Secured Claim, with such amount
             included in the Plan payments. However, if the creditor’s proof of claim amount is less than the Amount to be Paid on
             Secured Claim, then only the proof of claim amount will be paid. Any adequate protection payments are as provided in
             Section (C)(1) above. If a creditor fails to file a secured claim or files a wholly unsecured claim, the debtor may delete the
             proposed payment of a secured claim in the order confirming plan.

                                                                                                                   Amount to be
                                                                     Debt           Value of Collateral and        Paid
 Creditor & Property Description                                     Amount         Valuation Method               On Secured Claim    Interest Rate
 Southern Hills Acceptance, LLC                                        11,184.00    8,750.00                              11,184.00    4.75
 2010 Nissan Altima 93428 miles                                                     Value based on NADA
      See Section (J), Varying Provisions.

         (6) Priority, Unsecured Claims. All allowed claims entitled to priority treatment under § 507 shall be paid in full pro rata.

          (a) Unsecured Domestic Support Obligations. The Debtor shall remain current on such obligations that come due after
              filing the petition. Unpaid obligations before the petition date to be cured in the plan payments.
 Creditor                                                           Estimated Arrearage Amount            Arrearage Through Date
 -NONE-

               (b) Other unsecured priority claims.
 Creditor                                                             Type of Priority Debt                                      Estimated Amount
 Arizona Department of Revenue                                        Taxes and certain other debts                                               0.00
 Internal Revenue Service                                             Taxes and certain other debts                                           2,776.33
      See Section (J), Varying Provisions.

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         (7) Codebtor Claims. The following codebtor claim is to be paid per the allowed claim, pro rata 2:17-bk-10439
                                                                                                         before other unsecured,
             nonpriority claims.

 Creditor                                                            Codebtor Name                                        Estimated Debt Amount
 -NONE-
      See Section (J), Varying Provisions.

         (8) Unsecured Nonpriority Claims. Allowed unsecured, nonpriority claims shall be paid pro rata the balance of payments
             under the Plan.
      See Section (J), Varying Provisions.

(D)      Lien Retention. Secured creditors shall retain their liens until payment of the underlying debt determined under nonbankruptcy
         law or upon discharge, whichever occurs first. Federal tax liens shall continue to attach to property excluded from the
         bankruptcy estate under 11 U.S.C. § 541(c)(2) until the Internal Revenue Service is required to release the liens in accordance
         with non bankruptcy law.

      See Section (J), Varying Provisions.

(E)      Surrendered Property. Debtor surrenders the following property to the secured creditor. Upon confirmation of this Plan or
         except as otherwise ordered by the Court, bankruptcy stays are lifted as to the collateral to be surrendered. Any secured claim
         filed by such creditor shall receive no distribution until the creditor files an allowed unsecured claim or an amended proof of
         claim that reflects any deficiency balance remaining on the claim. Should the creditor fail to file an amended unsecured claim
         consistent with this provision, the Trustee need not make any distributions to that creditor.

 Creditor                                                            Property Being Surrendered
 Rancho Murietta                                                     Apartment lease

(F)      Attorney Application for Payment of Attorney Fees. Counsel for the Debtor has received a prepetition retainer of
         $ 500.00 , to be applied against fees and costs incurred. Fees and costs exceeding the retainer shall be paid from funds held by
         the Chapter 13 Trustee as an administrative expense. Counsel will be paid as selected in paragraph (1) or (2) below:

         (1) Flat Fee. Counsel for the Debtor has agreed to a total sum of $                to represent the Debtor. Counsel has agreed to perform
             the following services through confirmation of the plan:

                            All of the below, except Additional Services.
                            Review of financial documents and information.
                            Consultation, planning, and advice, including office visits and telephone communications.
                            Preparation of Petition, Schedules, Statement of Financial Affairs, Master Mailing List.
                            Preparation and filing of Chapter 13 Plan, Plan Analysis, and any necessary amendments.
                            Attendance at the § 341 meeting of creditors.
                            Resolution of creditor objections and Trustee recommendations, and attendance at hearings.
                            Reviewing and analyzing creditor claims for potential objections, and attendance at hearings.
                            Responding to motions to dismiss, and attendance at hearings.
                            Responding to motions for relief from the automatic stay, and attendance at hearings.
                            Drafting and mailing of any necessary correspondence.
                            Preparation of proposed order confirming the plan.
                            Representation in any adversary proceedings.
                            Representation regarding the prefiling credit briefing and post-filing education course.




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                     Additional Services. Counsel for the Debtor has agreed to charge a flat fee for the following additional services
                     provided to the Debtor after confirmation of the plan:

                            Preparation and filing of Modified Plan $ .
                            Preparation and filing of motion for moratorium $ .
                            Responding to motion to dismiss, and attendance at hearings $ .
                            Defending motion for relief from the automatic stay or adversary proceeding $   .
                            Preparation and filing of any motion to sell property $ .
                            Other .

                     All other additional services will be billed at the rate of $ per hour for attorney time and $ per hour for paralegal
                     time. Counsel will file and notice a separate fee application detailing the additional fees and costs requested. Counsel
                     will include all time expended in the case in the separate fee application.
       See Section (J), Varying Provisions.

         (2) Hourly Fees. For hourly fees to be paid as an administrative expense, counsel must file and notice a separate fee
             application detailing the additional fees and costs requested. The application must include all time expended in the case.

                Counsel has agreed to represent the Debtor for all services related to the Chapter 13 bankruptcy to be billed at the rate of
                $ 300.00 per hour for attorney time and $ 125.00 per hour for paralegal time.
       See Section (J), Varying Provisions.

(G)      Vesting. Property of the estate shall vest in the Debtor upon confirmation of the Plan. The following property shall not revest in
         the Debtor upon confirmation: [Describe or state none]
         n/a
       See Section (J), Varying Provisions.

(H)      Tax Returns. While the case is pending, the Debtor shall provide to the Trustee a copy of any post-petition tax return within
         thirty days after filing the return with the tax agency. The Debtor has filed all tax returns for all taxable periods during the
         four-year period ending on the petition date, except: [not applicable or describe unfiled returns].
         n/a

(I)      Funding Shortfall. Debtor will cure any funding shortfall before the Plan is deemed completed.


(J)     Varying Provisions. The Debtor submits the following provisions that vary from the Local Plan Form, Sections (A) through
        (H):

 (1)      (C)(2) and (F)(2) The debtor paid McDonald Law Offices, PLLC a total of $863.00 prior to the filing of this case. There are no
          funds remaining on hand or deposit. These funds were used to pay $53.00 to CIN Legal Services for debtors credit reports; to
          pay $310.00 to the United States Bankruptcy Court for the filing fee; and to pay $500.00 to McDonald Law Offices, PLLC
          toward attorney's fees for services performed prior to the filing of the case.

(K)      Plan Summary. If there is a discrepancy between paragraphs (A) - (J) and paragraphs (K) - (M), then the provisions of
         paragraphs (A) - (J) and the confirmed plan control.

          (1)      Trustee’s compensation (10% of plan payments)                                                 $                   7,500.00
          (2)      Ongoing post-petition mortgage payments                                                       $                       0.00
          (3)      Administrative expenses and claims                                                            $                   5,500.00
          (4)      Priority claims                                                                               $                   2,776.33
          (5)      Prepetition mortgage or lease arrears, or amount to cure defaults, including interest         $                  31,910.66
          (6)      Secured personal property claims, including interest                                          $                  12,354.98
          (7)      Amount to unsecured nonpriority claims                                                        $                  14,159.18
          (8)      Total of plan payments                                                                        $                  75,000.00

(L)      Section 1325 Analysis.


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          (1)     Best Interest of Creditors Test:
                                                                                                               2:17-bk-10439
             (a) Value of Debtor’s interest in nonexempt property                                               $         87,352.00
             (b) Plus: Value of property recoverable under avoiding powers                                      $              0.00
             (c) Less: Estimated Chapter 7 administrative expenses                                              $          7,617.60
             (d) Less: Amount to unsecured, priority creditors                                                  $          2,776.33
             (e) Equals: Estimated amount payable to unsecured, nonpriority claims if Debtor filed Chapter 7    $         76,958.07
          Paragraph (2) to be completed by debtors whose current monthly income exceeds the state’s median income.

          (2)     Section 1325(b) Analysis:

          (a) Monthly disposable income under § 1325(b)(2), Form B22C, Statement of Current Monthly Income $                -986.24
          (b) Applicable commitment period                                                                $                      36
          (c) Section 1325(b)(2) monthly disposable income amount multiplied by 36                        $              -35,504.64
 (M) Estimated Amount to Unsecured Nonpriority Creditors Under Plan                                       $               14,159.18

 Dated: September 5, 2017

 /s/ Chris Daniel Chacon, Sr.                                                     /s/ Lucille Mendoza Chacon
 Chris Daniel Chacon, Sr.                                                         Lucille Mendoza Chacon
 Debtor                                                                           Debtor

 /s/ James R. McDonald, Jr.
 James R. McDonald, Jr. 013604
 Attorney for Debtor
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                                                    LOCAL SAMPLE FORM 13-2. PLAN ANALYSIS
                     Chris Daniel Chacon, Sr.
 Debtor(s):          Lucille Mendoza Chacon                                     Case No.:
 Prior:                Chapter 7 ( )                 Chapter 13 ( )                 Date: September 5, 2017

                                                    TOTAL DEBT AND ADMINISTRATE EXPENSES
                                                          PROVIDED FOR BY THE PLAN

 A.          DEBTOR'S UNPAID ATTORNEY FEES                                                                      $          5,500.00

 B.          PRIORITY CLAIMS                                                                                    $          2,776.33

                         1.           Taxes                                                                     $          2,776.33

                         2.           Other                                                                     $                0.00

 C.          PAYMENTS TO CURE DEFAULTS                                                                          $        31,910.66

 D.          PAYMENTS ON SECURED CLAIMS                                                                         $        12,354.98

 E.          PAYMENTS ON OTHER CLASS                                                                            $                0.00

 F.          PAYMENTS ON GENERAL UNSECURED CLAIMS                                                               $        14,159.18

 G.          SUB-TOTAL                                                                                          $        67,500.00

 H.          TRUSTEE'S COMPENSATION ( 10 % of debtor's payments)                                                $          7,500.00

 I.          TOTAL AMOUNT OF PLAN PAYMENTS                                                                      $        75,000.00

                                                            RECONCILIATION WITH CHAPTER 7

 J.          INTEREST OF GENERAL UNSECURED CREDITORS IF CHAPTER 7 FILED
             1.    Value of debtor's interest in nonexempt property                                             $        87,352.00
             2.    Value of property recoverable under avoiding powers                                          $             0.00
             3.    Less: Estimated Chapter 7 administrative expenses                                            $         7,617.60
             4.    Less: Priority claims                                                                        $         2,776.33

             EQUALS ESTIMATED DIVIDEND FOR GENERAL UNSECURED CREDITORS
 K.          UNDER CHAPTER 7                                                                                    $        76,958.07

 L.          ESTIMATED DIVIDEND UNDER PLAN                                                                      $        14,159.18

     IF THERE ARE DISCREPANCIES BETWEEN THE PLAN AND THIS PLAN ANALYSIS, THE
PROVISIONS OF THE PLAN, AS CONFIRMED, CONTROL.




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